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                     EXHIBIT 8
                    Anat Levy, Esq.
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                                           ANAT LEVY, ESQ.
                     Beverly Hills Office: 8840 Wilshire Blvd., 3 rd Fl., Beverly Hills, CA 90211
               Las Vegas Office: 5841 E Charleston Blvd, Suite 230, PMB# 421, Las Vegas, NV 89142
               For Both Offices: Cell: (310) 621-1199 • Fax: (310) 734-1538 • Email: alevy96@aol.com



SUMMARY
Twenty-seven years entertainment and intellectual property attorney experience. Worked at a large firm and as
in-house counsel for major studios. Runs own firm since 2000 representing distributors, producers, post-
production, on-line companies and talent in all aspects of business and entertainment transactional work. Also
handled four multi-million dollar business and consumer class action litigation cases. Co-founded production
company that has optioned two television series to networks and acquired and developed a slate of projects.
Extensive entertainment arbitration and mediation experience. Admitted to practice law in California and
Nevada.

PROFESSIONAL EMPLOYMENT

Anat Levy & Associates, PC, Beverly Hills, CA and Las Vegas, NV
2000 to Present
Principal Attorney
     Handle all aspects of motion picture distribution, development, production, transactional and litigation work,
       including music licensing and clearance.
     Handle large non-entertainment business and consumer class litigation.
     Represent studios, producers, distributors, businesses, individuals.
     Clients include MGM, Miramax, Playboy, DigitalFilm Tree, ScreamFest Horror Festival, and others.

LeTo Entertainment, LLC, Los Angeles, CA
2001 to Present
Principal Member
     Acquire and develop television and theatrical projects
     Feature Documentary and Television work.
     TV commercial, corporate image, behind the scenes and radio commercial work.

Paramount Pictures Corporation, Hollywood, CA
1999 to 2000
Executive Director, Business & Legal Affairs Worldwide Home Entertainment
    Negotiated and drafted video revenue sharing agreements, marketing, promotion and publicity agreements,
       advised home video executive on a broad range of issues.
    Represented Paramount on the MPAA’s Anti-Piracy Litigation Committee supervising copyright litigation
       worldwide.
    Represented Paramount on the cross-industry Content Protection Group for protection of digital content
       transmitted over digital hardware and software.
    Provided input to Washington DC office on legislative and regulatory matters.
    Supervised the collection of international video and private copy levies worldwide.

Katten Muchin Zavis &Weitzman / Wyman Bautzer Kuchel & Silbert, Los Angeles, CA
1987 to 1991
Associate Attorney
    Participated in all aspects of business and entertainment litigation.
    Represented motion picture studios, businesses, insurers.

ADDITIONAL PROFESSIONAL EXPERIENCE

       Entertainment Law Section, State Bar of Nevada – Chair -- 7/2014 to present
       Independent Film & Television Alliance – Arbitrator, Mediator -- 2001 to Present
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                                          ANAT LEVY, ESQ.
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       Los Angeles Superior Court – Arbitrator, Mediator, Judge Pro Tem – 1999 to 2009
       Beverly Hills Bar Association – Arbitrator -- 2001 to 2010
       Speaking Engagements:
            o “Basics of Copyright” panelist - spoke on segment entitled “Protecting Electronic Media and Online
                Content”
            o Moderator on panel entitled “What’s the Latest in Digital Rights Management?”
            o Lecturer on “Intellectual Property Issues in the Digital Age”
            o Speaker at Symposium entitled “Issues of Archiving and Media Production, New Paradigm for the
                Digital Age;”
            o Speaker at conference entitled “Accelerating Change in the Information Economy” hosted by
                UCLA’s Anderson Graduate School of Management.

EDUCATION

UCLA School of Law
JD, 1986
     Externed for Justice Stephen Reinhardt, Ninth Circuit Court of Appeals
     Interned for Bet Tzedek Legal Services
     Named 1986 Best Third Year Advocate in Moot Court Honors Program
     Entertainment Law Society

University of California, Berkeley
A.B., Political Science, 1983
    Dean’s List
    Berkeley Own Recognizance Program
    Renter’s Assistance Program for Students
    Berkeley Pre-Law Society

ADMISSIONS

State Bar of California – 1987 (includes U.S. District Courts, Eastern and Southern Districts of California)
State Bar of Nevada – 2011

FOREIGN LANGUAGES
Fluent French; some Hebrew



                                        References available on request.
